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                     EXHIBIT 0727
         Plaintiffs’ Motion To Deem Established That Defendants Elliott Kline And
              Robert “Azzmador” Ray Committed Certain Specific Overt Acts
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